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                United States Bankruptcy Court
                                  Eastern District of Louisiana



DEBORAH A BIBBINS
4835 SIERRA MADRE DR                                                                    14-10206
NEW ORLEANS LA 70127                                                                     Chapter 13
                                                                                          Section A



             TRUSTEE'S MOTION TO SET ASIDE MOTION TO DISMISS CASE



NOW INTO COURT comes S.J. Beaulieu, Jr., Chapter 13 Trustee, who prays that his motion to
dismiss this case (pleading #64), and the related hearing set for October 25, 2018, be set aside and
dismissed.




Attorney for debtor:                                                     /s/ S.J. Beaulieu, Jr.
                                                                         S.J. Beaulieu, Jr.
TIMOTHY P KIRKPATRICK                                                    Chapter 13 Trustee
kirkpatrick@kirkpatrick-law.com




                                                                CERTIFICATE OF SERVICE

                                                  I certify that this pleading was served by the court's
                                                  electronic filing system upon the debtor's attorney,
                                                  and by first class mail upon the debtor, at the
                                                  addresses listed herein.

                                                  10/17/2018             by: Peter Bergeron
